Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 1 of 18




                  EXHIBIT A
             Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 2 of 18


Mansfield, Jennifer A (JAX - X27297)

From:                              Alex Andrade <aandrade@mhw-law.com>
Sent:                              Friday, September 1, 2017 3:37 PM
To:                                Mansfield, Jennifer A (JAX - X27297)
Cc:                                Harmony Malone
Subject:                           Unverified Interrogatorries
Attachments:                       Unver.Amended Resp to Defendant's First Set of Interrogatories to Plaintiff.pdf


Jennifer,

I have to leave the office for a family event. Attached are unverified amended responses to your interrogatories. I have
not had the opportunity to go over your production concerns with my clients due to scheduling conflicts. What I can say
is that I intend to pull the objections that you mentioned in your email from Monday this week. The PDFs of the page
titled “Hillbillies Against being Punk’N Drublic” appears to have been shut down by the creators, and we never had
control of the page. My clients will work to provide you with a native format version of the one facebook page they
controlled, the Punk’N Drublic official page.

I will have a better answer for you on supplementing production early next week.


R. Alex Andrade
Moore, Hill & Westmoreland, P.A.
350 West Cedar Street, Suite 100
Pensacola, Florida 32502
Phone: (850) 434-3541
Fax: (850) 435-7899
www.mhw-law.com

This is a privileged communication protected by the laws of the State of Florida, the United States and the European
Union from unauthorized disclosure to anyone except the intended recipient. If you have received this message in error,
please delete it immediately and notify the sender identified above. Your cooperation in this regard is greatly
appreciated.




                                                            1
      Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 3 of 18


                                              IN THE CIRCUIT COURT OF THE FIRST
                                              JUDICIAL CIRCUIT, IN AND FOR OKALOOSA
                                              COUNTY, FLORIDA

                                              CASE NO.: 2016 CA 003483 F
SUCKIN’ DIESEL INC.,

       Plaintiff,

vs.

CUMULUS MEDIA INC.,

       Defendant.
                                      /

                        DEFENDANT'S NOTICE OF SERVICE OF
                    FIRST SET OF INTERROGATORIES TO PLAINTIFF

          Defendant, Cumulus Media, Inc. (“Cumulus” or “Defendant”), pursuant to Rule 1.340,

Florida Rules of Civil Procedure, hereby gives notice of service of Defendant's First Set of

Interrogatories to Plaintiff, Suckin’ Diesel Inc., numbered 1 through 10, by providing the same

via Electronic Mail on this 4th day of April, 2017, to:

Robert A. Andrade
MOORE, HILL &WESTMORELAND
350 West Cedar Street, Suite 100
Post Office Box 13290 Pensacola,
FL 32591-3290 aandrade@mhw-
law.com hmalone@mhw-
law.com
Counsel for Plaintiff
                                              HOLLAND & KNIGHT LLP

                                               /s/ Jennifer A. Mansfield
                                              Timothy J. Conner, FBN 767580
                                              Jennifer A. Mansfield, FBN 0186724
                                              50 North Laura Street, Suite 3900
                                              Jacksonville, Florida 32202
                                              Telephone: (904) 353-2000
                                              Facsimile: (904) 358-1872
                                              Primary: timothy.conner@hklaw.com
                                              Secondary: lynette.mattison@hklaw.com
      Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 4 of 18


                                              Primary: Jennifer.mansfield@hklaw.com
                                              Secondary: dawn.hewett@hklaw.com
                                              Attorneys for Defendant Cumulus Media, Inc.


                                              IN THE CIRCUIT COURT OF THE FIRST
                                              JUDICIAL CIRCUIT, IN AND FOR OKALOOSA
                                              COUNTY, FLORIDA

                                              CASE NO.: 2016 CA 003483 F
SUCKIN’ DIESEL INC.,

       Plaintiff,

vs.

CUMULUS MEDIA INC.,

       Defendant.
                                      /

                               DEFENDANT'S FIRST SET
                         OF INTERROGATORIES TO PLAINTIFF

       Defendant, Cumulus Media, Inc. (“Cumulus” or “Defendant”), hereby propounds its First

Set of Interrogatories to Plaintiff, Suckin’ Diesel Inc., and requests they be answered in writing,

under oath, and returned to the undersigned counsel in accordance with Rule 1.340, Florida Rules

of Civil Procedure, within thirty (30) days herein.

                                          INSTRUCTIONS

       If you refuse to answer any interrogatory under a claim of privilege or immunity, please

identify each interrogatory for which the privilege or immunity is claimed, together with all bases

upon which the privilege or immunity is claimed and the person on whose behalf the privilege is

asserted. Where there is inadequate space to respond, attach an addendum and indicate the

number and subsection of the interrogatory being answered.
     Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 5 of 18


                                            DEFINITIONS

       1.      "DOCUMENT(S)" means the original, duplicate or any copy of all written,

digital, printed, typed, recorded, graphic or photographic matter, or sound reproduction,

including, but not limited to: All files, books and records, ledgers, cancelled checks, check

stubs, invoices, letters, telegrams, internal memoranda, reports, studies, calendars, minutes,

pamphlets, notes, charts, tabulations, legal documents, photographs, accounting entries, records

of meetings, records of telephone conferences or other communications, tape recordings,

microfilms, punch cards, recordings used in data processing and computer tapes and disks

together with the written information necessary to understand and use such file and recordings,

social media posts, electronic data, and all other data compilations from which the information

can be obtained.

       2.      The term Documents is further defined to include all notes or notations on such

documents and all exhibits or attachments or other materials affixed thereto.

       3.      "PERSON(S)" means individuals and all other entities having legal existence,

including, but not limited to, corporations, general partnerships, limited partnerships,

professional associations, governmental entities or governmental corporations.

       4.      "AGREEMENT(S)" means all Agreements, contracts, understandings, or other

arrangements between or among two or more Persons regardless of whether written, oral, final,

executory, enforceable, superseded, amended or modified by subsequent Agreements.

       5.      "RELATING TO" means concerning, pertaining to, respecting, referring to,

summarizing, digesting, embodying, reflecting, establishing, tending to establish, derogating

from, intending not to establish, evidencing, not evidencing, comprising, connected with,

commenting on, responding to, disagreeing with, showing, demonstrating, describing, analyzing,

representing, constituting, or including.




                                                 2 #50117518_v1
     Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 6 of 18


       6.      "IDENTIFY" when used in reference to an individual Person, means to state his

or her full name, last known address, telephone number (if known), and his or her present

employment position and business affiliation. When used in reference to a Person, other than an

individual, the terms Identify means to state whether such Person is a corporation, partnership, or

other organization, and its name, present or last known address, and its principal place of

business. Once any Person has been Identified properly, it shall be sufficient thereafter when

Identifying the same Person to state the name only.

       7.      "IDENTIFY" when used in reference to Documents, means to state the date of its

execution or if undated, the date it was prepared, the author (or if different, the signatory or

signatories), the addresses, the type of Document, or any means of Identifying it with sufficient

particularity to meet the requirements for inclusion in a request for Documents pursuant to Rule

1.350, Florida Rules of Civil Procedure. If any such Documents were, but are no longer in Your

possession or subject to Your control, state what disposition was made of it and the reason for its

disposition.

       8.      "PLAINTIFF" means Suckin’ Diesel Inc., as identified in Plaintiff's Complaint,

filed in the above-styled case.

       9.      "YOU" or "YOURS" means the Plaintiff, Suckin’ Diesel Inc, and, where

appropriate, its agents, employees and/or representatives.

       10.     "COMPLAINT" means the operative Complaint filed by Plaintiff in the

abovestyled action; however, it also means any further amended version pending at the time

Defendant Cumulus Media Inc.’s First Set of Interrogatories and First Request for Production of

Documents are responded to.

       11.     "AND"/"OR" shall be construed conjunctively and disjunctively in each

production request in order to request the broadest scope of information possible.



                                                3
#50117518_v1
     Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 7 of 18


                                   INTERROGATORIES

        1.      Identify all Persons who participated in providing the answers to these
interrogatories. As to any such Person, Identify the interrogatory or interrogatories for which
such assistance was provided.

       ANSWER: Chris Beckman and Katherine Beckman


       2.     Identify all Persons, either believed or known by You, Your agents, or attorneys
to have any knowledge concerning any of the issues in this lawsuit, and specify the subject
matter about which each Person has knowledge.

       ANSWER:

              Marcus Degagne, Patron and hired entertainment. Helped to discover the 99
       Rock statements made by them on their Facebook page and heard the unauthorized
       advertisement multiple times personally and outrage from the public.

             Jaquelyn Maggelet, Patron and parent to Marcus. Witness to customer
       outrage over unauthorized advertisement

              Henry Smith, Patron and entertainment. Witnessed from patrons the outrage
       over unauthorized advertisement

             Karen Wetherington, Restaurant Manager, witnessed former customer
       complaints and witnessed complaints and bashing on Facebook regarding
       unauthorized advertisement (see Karen W. File)

              Jay Guiao, Restaurant Server, heard unauthorized commercial and
       witnessed many former customer complaints and witnessed complaints on Facebook

             Sara Gunsch, Lead Bartender, witnessed customers complaining regarding
       unauthorized advertisement and saw drastic decline in clientele

              Blake Stapleton, Patron and Social Media Assistant, helped to operate
       Facebook Page and witnessed firsthand the outrage via social media. Witnessed 99
       rocks Facebook posts and heard the unauthorized commercial

             Debbi Dunno, Restaurant Patron, witnessed clientele complaints regarding
       unauthorized commercial

              William and Laura Avery, Owners of Fokkers Pub, Witnessed community
       outcry over unauthorized advertisement from patrons in their establishment

        3.      For each and every Request for Admissions, served simultaneously with these
interrogatories, that You deny, please explain with particularity the reasons for Your denial.



                                              4
#50117518_v1
     Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 8 of 18


       ANSWER: Plaintiffs were unable to find a page labelled “Standard Terms and
Conditions” to confirm its inclusion in the contract consideration. The contract between the
parties consisted of invoices, email directions, verbal communications and order forms, and
therefore, Defendant’s second request for admission must be denied.

        4.     Please Identify any expert You intend to call as a witness for trial in this action,
and for each such Person state:

               a.     His/Her profession or occupation, and the subject matter about which they
                      are expected to testify;

               b.     The title, subject matter, publisher, and the date of publication of any
                      books, papers, or articles authored by him/her within the last ten years on
                      the subjects in his/her field;

               c.     A list of all of their cases in which, during the previous four years, the
                      witness testified as an expert or treating physician at trial or by deposition;

               d.     A statement of any compensation to be paid to the witness;

               e.     Any other qualifications which you contend provides a foundation for the
                      witness to testify with respect to the subject matter of their testimony; and

               f.     A description of any exhibits that will be used to summarize or support the
                      witness's testimony.

       ANSWER: Plaintiffs are currently unaware of any expert they intend to call as a
       witness.

       5.     Please describe with particularity the exact words You claim to have been false
and defamatory, how they were published by Defendant, when they were published, and who
published them.

       ANSWER: Plaintiff was not a firsthand witness to the comments made by 99 Rock.
       Plaintiff was informed by the general public that 99 Rock referred to former
       customers as “hillbillies” and “smokers,” and stated they were not welcome at Punk
       ‘n Drublic. Plaintiff’s 99 Rock representative, Melissa Allegretto, claimed that the
       statements were made “off the cuff” by a DJ on one occasion, not specifying when,
       and that it would not happen again. Plaintiff discovered through witnesses that the
       statements were recorded and that 99 Rock continued airing the statements on
       multiple occasions prior to the restaurant opening.

       6.     Please Identify each term, in the Contract alleged to exist in paragraph 19 of the
Complaint, which You claim Defendant breached and describe with particularity the facts about
how the term(s) were breached.


                                                 5
#50117518_v1
     Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 9 of 18


       ANSWER: The parties entered in an agreement to air approved radio ads with
       specific language. 99Rock aired additional, unapproved language.


        7.     Please describe with particularity the facts for each Count relating to any
allegations that Defendant acted with negligence or gross negligence, including but not limited
to:
            a. any alleged legal duty Defendant owed Plaintiff and how that duty arose;
            b. the standard of care imposed by each legal duty;
            c. the specific facts about how Defendant allegedly did not conform to the standard
               of care required by each legal duty; and
            d. the specific facts relating to how Defendant’s actions caused injury or damages to
               Plaintiff.

       ANSWER: Defendant contracted with Plaintiff to perform radio advertisements,
       promote what is colloquially deemed a live on-site broadcast, perform a live on-site
       broadcast and post at least once on Defendant’s Facebook page promoting
       Plaintiff’s restaurant.
                Defendant, in performing under the contract, represented that it was
       speaking on behalf of Plaintiff. Outside of what Defendant was contracted to
       provide, Defendant made comments regarding the previous clientele of the former
       restaurant at Punk ‘N Drublic’s location, and subsequently made defamatory
       statements on the Facebook page it controls regarding Plaintiff.
                Defendant owed a duty to clarify when it was speaking on its own behalf, and
       when it was speaking on behalf of Plaintiff, and Defendant owed a duty to confirm
       facts it alleged prior to disseminating same.
                Defendant’s employees engaged in private messaging as representatives of 99
       Rock with members of the community and made false statements regarding Plaintiff
       that harmed Plaintiff’s reputation.
                Defendant owed a duty to properly train its employees regarding statements
       made about clients.
                Defendant did not maintain a policy regarding the use of social media and
       representations made by its employees at the time the defamatory statements were
       made.
                Defendant did not confirm with Plaintiff prior to repeatedly airing
       promotional statements on behalf of Plaintiff that were offensive to the local
       community.


       8.       Please describe and itemize with particularity all damages You claim to have
suffered and are seeking for each Count in Your Complaint, including but not limited to all
attorney’s fees, costs, fines, fees, or penalties which you claim in this lawsuit, and with respect to
each Count, please:

       a.      State how You calculated each particular component of damages;


                                                  6
#50117518_v1
     Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 10 of 18


       b.      Identify all Documents which reflect, support, and/or establish that component of
               damages;

       c.      Identify all Persons who have knowledge relating to that component of damages,
               and the basis for their knowledge;

       d.      Identify all statutory provisions, if any, upon which your claim of damages are
               based; and

       e.      State the total amount of damages sought for each Count and the Complaint as a
               whole, exclusive of interest and costs.

       ANSWER: See production provided in response to Defendant’s First Request for
       Production. Plaintiffs have produced all lines of credit and loan documents related
       to opening the restaurant known as Punk’N Drublic.


       9.      Have You, Katherine Beckman, or Christopher Beckman been a party to any
lawsuit in the last ten (10) years? If yes, please provide the style, case number, and court for
each lawsuit.

        ANSWER: Objection as to relevance. Neither Plaintiff has been arrested for a
       felony or crime of dishonesty.

       10.    Has anyone other than Defendant paid, in whole or in part, for Your claims in this
lawsuit? If so, please Identify all such payers, the amounts paid, and to whom payment was
made.

        ANSWER: No
                                      VERIFICATION

 I hereby swear or affirm that I have reviewed the above answers to Defendant's First Set of
Interrogatories and they are true and correct.


                                            ______________________________
                                            Suckin’ Diesel, Inc.
                                            By:

                                            (Title)

STATE OF FLORIDA

COUNTY OF _____________



                                               7
#50117518_v1
     Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 11 of 18


 Before me the undersigned authority, on this _______ day of ___________________ 2017,
personally appeared _________________________, who is personally known to me/who has
produced ___________________________ as identification, to be the person who has read the
foregoing answers to interrogatories, knows the contents of and that the same are true and
correct; and acknowledged to and before me that he/she executed said answers freely and
voluntarily in the capacity and for the purposes set forth and did take an oath.



                                         ________________________________
                                         Notary Public
                                         State of Florida at Large
                                         My Commission Number/Expiration Date




                                            8
#50117518_v1
              Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 12 of 18


Mansfield, Jennifer A (JAX - X27297)

From:                                Mansfield, Jennifer A (JAX - X27297)
Sent:                                Friday, September 1, 2017 12:26 PM
To:                                  'Alex Andrade'
Cc:                                  Harmony Malone; Conner, Timothy J (JAX - X27362)
Subject:                             RE: Suckin' Diesel, Inc. v. Cumulus Media, Inc. - Discovery Responses

FilingDate:                          9/1/2017 12:26:00 PM


Thank you.

Jennifer

Jennifer A. Mansfield | Holland & Knight
Partner
Holland & Knight LLP
50 North Laura Street, Suite 3900 | Jacksonville FL 32202
Phone 904.798.7297 | Fax 904.358.1872
jennifer.mansfield@hklaw.com | www.hklaw.com
________________________________________________
Add to address book | View professional biography


From: Alex Andrade [mailto:aandrade@mhw-law.com]
Sent: Friday, September 1, 2017 12:15 PM
To: Mansfield, Jennifer A (JAX - X27297) <Jennifer.Mansfield@hklaw.com>
Cc: Harmony Malone <hmalone@mhw-law.com>; Conner, Timothy J (JAX - X27362) <Timothy.Conner@hklaw.com>
Subject: RE: Suckin' Diesel, Inc. v. Cumulus Media, Inc. - Discovery Responses

Jennifer,

You asked us to get you responses this week. That is my intent. You will, at the very least, be getting an unverified
amended response to you interrogatories today, and amended responses to you RFP.


R. Alex Andrade
Moore, Hill & Westmoreland, P.A.
350 West Cedar Street, Suite 100
Pensacola, Florida 32502
Phone: (850) 434-3541
Fax: (850) 435-7899
www.mhw-law.com

This is a privileged communication protected by the laws of the State of Florida, the United States and the European
Union from unauthorized disclosure to anyone except the intended recipient. If you have received this message in error,
please delete it immediately and notify the sender identified above. Your cooperation in this regard is greatly
appreciated.



                                                              1
               Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 13 of 18


From: Jennifer.Mansfield@hklaw.com [mailto:Jennifer.Mansfield@hklaw.com]
Sent: Friday, September 01, 2017 11:13 AM
To: Alex Andrade
Cc: Harmony Malone; Timothy.Conner@hklaw.com
Subject: RE: Suckin' Diesel, Inc. v. Cumulus Media, Inc. - Discovery Responses

Alex,

I haven’t heard anything further about the outstanding discovery. Will your client be supplementing its interrogatory
answers? Will your client be providing an explanation of what documents go with which production request?

By way of further example, some of the documents your client produced include loan documents, such as the attached
note and loan statements. Are these documents merely part of your client’s business records, or are they intended to
be part of your client’s claimed damages? The answer is no discernable from the documents or interrogatory answers.

We will be filing a motion to compel if we don’t get a satisfactory response on these items. Your client, as plaintiff, has
an obligation to provide discovery about what the theories of recovery are and what the claimed damages are. Failure
to provide such discovery would be a basis to have all claims dismissed, and we will seek such relief if your client’s failure
to provide this discovery persists.

Yours truly,

Jennifer

Jennifer A. Mansfield | Holland & Knight
Partner
Holland & Knight LLP
50 North Laura Street, Suite 3900 | Jacksonville FL 32202
Phone 904.798.7297 | Fax 904.358.1872
jennifer.mansfield@hklaw.com | www.hklaw.com
________________________________________________
Add to address book | View professional biography


From: Mansfield, Jennifer A (JAX - X27297)
Sent: Monday, August 28, 2017 11:51 AM
To: 'Alex Andrade' <aandrade@mhw-law.com>
Cc: Harmony Malone <hmalone@mhw-law.com>; Conner, Timothy J (JAX - X27362) <Timothy.Conner@hklaw.com>
Subject: RE: Suckin' Diesel, Inc. v. Cumulus Media, Inc. - Discovery Responses

Alex,

The only thing in the June 5th letter you addressed was sending some documents to me. All other issues identified in the
letter remain.

In fact, now that I have the documents you produced, there are still significant gaps:
      • First, you do not identify which requests for production the documents purportedly respond to, and most
          appear to be completely unrelated to the allegations of this case. So, Bates numbering your documents and
          identifying them by category is needed. (We know that most of the documents produced were not produced
          as they were kept, because you produced PDFs.) If you refuse to do that, then please respond by providing the
          documents in native format, as requested in our RFP.

                                                              2
                Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 14 of 18

     •       Your client has failed to identify the allegedly defamatory statements, so please provide all documents where
            such statements are identified.
     •       Your client has not produced the contract at issue.
     •       Your client objects to request #9 as irrelevant, but that is not a valid objection. Please produce the documents.
     •       Your client still has not produced any demand for retraction or clarification that your client purportedly would
            have sent to Defendant. Please produce the document(s).
     •       You said you would produce documents in response to request #13, but no documents were produced. Please
            produce the document(s) or respond accurately about whether such documents exist.
     •       Plaintiff has not produced any documents in response to request #14, except one-side entries of debits to
            some of its bank accounts. No documents were produced which show credits, and no ledger has been
            produced. The request seeks the entire financial ledger, whether in hard-copy or accounting software. This is
            key to any damages sought by Plaintiff and if no such discovery is produced it will severely prejudice my client’s
            ability to defend itself in this lawsuit. Accordingly, if no such documents are produced we would have ground
            to dismiss plaintiff’s case on that basis.

Please provided amended discovery responses this week.

Regarding your request to amend the complaint, I will address that in a separate email once we’ve had a chance to
review the proposed amended complaint. Please forward it to me.

Yours truly,
Jennifer

Jennifer A. Mansfield | Holland & Knight
Partner
Holland & Knight LLP
50 North Laura Street, Suite 3900 | Jacksonville FL 32202
Phone 904.798.7297 | Fax 904.358.1872
jennifer.mansfield@hklaw.com | www.hklaw.com
________________________________________________
Add to address book | View professional biography


From: Alex Andrade [mailto:aandrade@mhw-law.com]
Sent: Monday, August 28, 2017 11:26 AM
To: Mansfield, Jennifer A (JAX - X27297) <Jennifer.Mansfield@hklaw.com>
Cc: Harmony Malone <hmalone@mhw-law.com>; Conner, Timothy J (JAX - X27362) <Timothy.Conner@hklaw.com>
Subject: RE: Suckin' Diesel, Inc. v. Cumulus Media, Inc. - Discovery Responses

Jennifer,

I’m happy to get you what you need. Regarding your June 5 correspondence, several of the items you mentioned have
been addressed. To assist me in complying with your demand below, please confirm that you are only seeking
clarification on interrogatory number 7 and some form of calculation regarding interrogatory number 8.

Have you given any thought to whether I need to schedule a hearing on my motion to amend the complaint?

R. Alex Andrade
Moore, Hill & Westmoreland, P.A.
350 West Cedar Street, Suite 100
Pensacola, Florida 32502
Phone: (850) 434-3541
                                                               3
               Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 15 of 18
Fax: (850) 435-7899
www.mhw-law.com

This is a privileged communication protected by the laws of the State of Florida, the United States and the European
Union from unauthorized disclosure to anyone except the intended recipient. If you have received this message in error,
please delete it immediately and notify the sender identified above. Your cooperation in this regard is greatly
appreciated.




From: Jennifer.Mansfield@hklaw.com [mailto:Jennifer.Mansfield@hklaw.com]
Sent: Monday, August 28, 2017 10:12 AM
To: Alex Andrade
Cc: Harmony Malone; Timothy.Conner@hklaw.com
Subject: RE: Suckin' Diesel, Inc. v. Cumulus Media, Inc. - Discovery Responses

Alex,

You never responded to my letter of June 5, 2017, seeking adequate answers to interrogatories. Your client has refused
to answer even basic questions about what legal theories it is pursuing, or even the amount of damages it is
demanding.

Please provide updated interrogatory answers by the end of this week, or we will file a motion to compel.

Yours truly,
Jennifer

Jennifer A. Mansfield | Holland & Knight
Partner
Holland & Knight LLP
50 North Laura Street, Suite 3900 | Jacksonville FL 32202
Phone 904.798.7297 | Fax 904.358.1872
jennifer.mansfield@hklaw.com | www.hklaw.com
________________________________________________
Add to address book | View professional biography


From: Hewett, Dawn S (JAX - X25443)
Sent: Friday, June 2, 2017 4:24 PM
To: aandrade@mhw-law.com
Cc: Mansfield, Jennifer A (JAX - X27297) <Jennifer.Mansfield@hklaw.com>
Subject: Suckin' Diesel, Inc. v. Cumulus Media, Inc. - Discovery Responses

Please see the attached correspondence. Thank you.

Dawn Hewett | Holland & Knight
Sr Legal Secretary to:
Terrence J. Russell, Esq. | Jennifer Mansfield, Esq.
Lindsay Dennis Swiger, Esq. | Jennifer L. Kifer, Esq.
50 North Laura Street, Suite 3900 | Jacksonville, FL 32202
Phone 904.798.5443 | Fax 904.358.1872
dawn.hewett@hklaw.com | www.hklaw.com
                                                            4
               Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 16 of 18
________________________________________________

NOTICE: This e-mail is from a law firm, Holland & Knight LLP ("H&K"), and is intended solely for the use of the individual(s) to whom it is
addressed. If you believe you received this e-mail in error, please notify the sender immediately, delete the e-mail from your computer and
do not copy or disclose it to anyone else. If you are not an existing client of H&K, do not construe anything in this e-mail to make you a client
unless it contains a specific statement to that effect and do not disclose anything to H&K in reply that you expect it to hold in confidence. If
you properly received this e-mail as a client, co-counsel or retained expert of H&K, you should maintain its contents in confidence in order to
preserve the attorney-client or work product privilege that may be available to protect confidentiality.




                                                                       5
Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 17 of 18
Case 3:17-cv-00699-MCR-CJK Document 1-1 Filed 09/21/17 Page 18 of 18
